Case 1:24-cr-00219-TSC Document 40 Filed 10/03/24 Page 1 of 1

CO 526 Rev. 5/2018

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

VS. Criminal Case No.: 24-CR-219-2

DONALD MOSS

Nee ee ee ee ee”

WAIVER OF TRIAL BY JURY

With the consent of the United States Attorney and the approval of the Court, the defendant

Lhe Me

Defendant

AT

Counsel for Defendant

waives his right to trial by jury.

I consent:

Assistant Unite

tates attorney

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LN Date: of. 3/ POLY
ke S. CHUTKAN

United States District Judge -|
